                                           Case 3:22-cv-05407-RS Document 48 Filed 01/22/24 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IVAN FABIAN ALVAREZ MARTINEZ,                        Case No. 22-cv-05407-RS
                                                       Plaintiff,
                                   8
                                                                                             STANDBY ORDER OF DISMISSAL
                                                v.
                                   9

                                  10    CITY OF RICHMOND, et al.,
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court has been informed that the above-entitled action has settled. Accordingly, the

                                  14   Court vacates all pretrial and trial dates. The parties are required to file a stipulation of dismissal

                                  15   by March 28, 2024. If a stipulation of dismissal is not filed by that date, the parties are ordered to

                                  16   appear on April 4, 2024, at 1:30 p.m. in Courtroom 3, 17th Floor of the San Francisco

                                  17   Courthouse and show cause why the case should not be dismissed. Failure to comply with this

                                  18   Order may result in dismissal of the case.

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                                  20          IT IS SO ORDERED.

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                                  22   Dated: January 22, 2024

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                                                                                          Richard Seeborg
                                  25                                                      Chief United States District Judge

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